          Case 1:19-cv-00767-RP Document 141 Filed 09/01/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 BALANCECXI, INC. dba ZACOUSTIC,                  §
     Plaintiff                                    §
                                                  §
 vs.                                              §             Civil Action No. 1:19-cv-767-RP
                                                  §
 INTERNATIONAL CONSULTING &                       §
 RESEARCH GROUP, LLC,                             §
 CHRISTOPHER DESIMONE, AND                        §
 ADAM OLDFIELD                                    §
      Defendants                                  §

                     JOINT MOTION TO DISMISS WITH PREJUDICE

       Defendants International Consulting & Research Group, LLC, Christopher DeSimone, and

Adam Oldfield (collectively, “Defendants”) and Plaintiff BalanceCXI, Inc. dba Zacoustic

(“BalanceCXI” or “Plaintiff”) (Defendants and BalanceCXI collectively the “Parties”) jointly

file this Joint Motion to Dismiss with Prejudice and respectfully state:

       The Parties have entered into a settlement of the claims made in the instant suit and believe

that the settlement reached is fair and reasonable. Bona fide factual disputes were involved, and

the settlement was negotiated at arm’s length between knowledgeable and experienced attorneys

representing Plaintiff and Defendants. Based on the settlement reached, the Parties agree that all

claims that Plaintiff alleged or could have alleged in this lawsuit against Defendants, and all

counterclaims that Defendants could have alleged against Plaintiff, should be dismissed with

prejudice. Therefore, the Parties now jointly request that the suit be dismissed with prejudice to

the refiling of the same.

       WHEREFORE, the Parties respectfully request that this Court grant this motion and enter

an order dismissing all of Plaintiff’s claims with prejudice.


JOINT MOTION TO DISMISS WITH PREJUDICE                                                       Page 1
       Case 1:19-cv-00767-RP Document 141 Filed 09/01/22 Page 2 of 3




                                         Respectfully submitted,

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                                         D/B/A ZACOUSTIC

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JOINT MOTION TO DISMISS WITH PREJUDICE                                     Page 2
         Case 1:19-cv-00767-RP Document 141 Filed 09/01/22 Page 3 of 3




                              CERTIFICATE OF SERVICE

       The undersigned certifies that on September 1, 2022, a copy of the foregoing instrument
was served on the following counsel of record in accordance with the Federal Rules of Civil
Procedure and the Court’s Local Rules.

                                                   /s/ Adam H. Sencenbaugh
                                                   Adam H. Sencenbaugh




JOINT MOTION TO DISMISS WITH PREJUDICE                                                  Page 3
